         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 1 of 19



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )    Criminal No. 18-10087-FDS
                                                     )
(1) DI’LON SMITH, a/k/a DILON SMITH, and             )
(2) DENZEL SMITH,                                    )
                                                     )
                      Defendants.                    )


         GOVERNMENT’S OPPOSITION TO DEFENDANT DILON SMITH’S
            MOTION TO SUPPRESS ALL EVIDENCE DERIVED FROM
         THE EXECUTION OF A SEARCH WARRANT AT 177 MEGAN ROAD

       The United States respectfully requests that the Court deny defendant Dilon Smith’s

motion to suppress all evidence derived from the November 29, 2017 execution of a search

warrant for the basement apartment of 177 Megan Road in Hyannis. The warrant was supported

by probable cause. In the alternative, the Leon good-faith exception to the Fourth Amendment

exclusionary rule applies.

                                             FACTS

       In the late summer/early fall of 2017, Yarmouth and Barnstable police began

investigating the movant, Dilon Smith (“Dilon”), and his fraternal twin brother, Denzel Smith

(“Denzel”), for distributing fentanyl. Affidavit of Detective Peter Ginnetty in Support of Search

Warrant for 177 Megan Road (DN 88-1), ¶ 1.

       1. The Search Warrants

       As part of the investigation, officers obtained five state search warrants:

            a. A warrant for the basement apartment of 177 Megan Road in Hyannis and the

               defendants’ persons was obtained on November 28 and executed on November

               29. See DN 88-1.

                                                 1
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 2 of 19



           b. A warrant for 321 Mitchells Way in Hyannis and Denzel’s Chevy Impala was

               obtained and executed on November 29. See DN 88-3.

           c. A warrant for 89 Lewis Bay Road, Apt. 209 in Hyannis, identified as the

               residence of Dilon and his girlfriend, A.S., was obtained on November 28 and

               executed on November 29. See Exhibit A.

           d. A warrant for a GPS tracker on Denzel’s Impala was obtained on November 17.

               The tracker was affixed to the Impala from November 20 until after the

               defendants’ arrest on November 29. See Exhibit B.

           e. A warrant for a GPS tracker on Dilon’s BMW was obtained on November 22.

               The tracker was affixed to the BMW during the period November 26-29. See DN

               88-5.

       2. The Controlled Buy Reports and the Surveillance Reports

       The search warrant affidavits described a total of six controlled buys of narcotics from

Dilon and Denzel. Police conducted a seventh controlled buy but did not include it in any of the

search warrant affidavits. Two of the controlled buys – one from Dilon and one from Denzel –

are described in the affidavit for the 177 Megan Road warrant. See DN 88-1, ¶¶ 7-8.

       Because the confidential informants (“CIs”) who made all seven purchases are concerned

for their safety, the government has disclosed as little information as possible that could lead to

their identification. Based on the government’s agreement not to use any evidence of any of the

controlled buys at trial, and given that the none of the controlled buys are charged, Magistrate

Judge Dein issued an order, following a hearing, denying the defendants’ motions to compel the

government to produce any of the controlled buy reports or any information identifying the CIs.

See DN 57 at 4; DN 76.



                                                  2
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 3 of 19



       In their motions to compel, the defendants asked, for the first time, that the government

produce surveillance reports connecting them to 177 Megan Road. See DN 68 at 1, DN 69 at 1.

The government promptly agreed to produce the requested reports. See DN 71 at 1. Copies are

attached to Dilon’s motion to suppress. See DN 88-4.

       3. Detective Ginnetty’s Affidavit Supporting the Search Warrant Application for
          the Basement Apartment of 177 Megan Road

       Barnstable Police Detective Peter Ginnetty’s affidavit began with a description of his

work as a police officer and his experience with the methods, routines, and practices of people

involved in drug trafficking. DN 88-1 at DILON 0013. He then stated the following facts in

support of his application:

           •   Barnstable and Yarmouth police began investigating Dilon and Denzel in the late

               summer/early fall of 2017. Numerous overdose victims and CIs had told police

               that the brothers were distributing large quantities of fentanyl and bragging about

               the potency and quality of their product. Id. ¶ 1.

           •   Dilon and Denzel already were well known to law enforcement. Id.

           •   According to the Massachusetts Registry of Motor Vehicles, Dilon lived at 89

               Lewis Bay Road in Hyannis and Denzel lived in New Bedford. Id. ¶¶ 9-10.

           •   In October 2017, a CI identified as “CS1,” who recently had bought heroin and/or

               fentanyl from Denzel, told Barnstable detectives that Denzel was selling large

               quantities of heroin and/or fentanyl in the mid-Cape area. CS1 said that Denzel

               conducted his transactions away from his primary residence, and that he charged

               about $100/gram but would sell larger quantities at a reduced price. Id. ¶ 2.

           •   Also in October 2017, a CI identified as “CS2,” who recently had bought fentanyl

               from Dilon, told Detective Ginnetty that Dilon was selling large quantities of

                                                 3
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 4 of 19



               fentanyl in and around Hyannis. CS2 said that Dilon conducted his transactions

               away from his primary residence, and that he charged about $100/gram or $50 for

               a half-gram. CS2 was a reliable informant who recently had assisted Barnstable

               police by making controlled purchases of drugs leading to the issuance of a search

               warrant, which, in turn, had led to an individual’s arrest and conviction as well as

               the seizure of drugs and a gun. Id. ¶ 3.

           •   Based on his experience, Detective Ginnetty knew that drug dealers usually do

               not allow customers to come to their primary residence and prefer to make their

               sales within a small geographic area near their primary residence or their stash

               house. Id. ¶ 4.

           •   One day in October 2017, Detective Ginnetty saw Dilon park his BMW in the

               driveway of 177 Megan Road, enter the fenced backyard, and not emerge for a

               long period of time. 1 Detectives then began monitoring 177 Megan Road. Id. ¶ 5.

           •   Thereafter, detectives saw Dilon repeatedly enter and exit the fenced backyard of

               177 Megan Road. Id.

           •   They also saw Dilon drive to various locations from 177 Megan Road, meet

               individuals for short periods of time, and then return immediately to 177 Megan

               Road. Id.

           •   They also saw him drive past 177 Megan Road and then circle back before

               parking at that address. They also saw Dilon, after parking in the driveway, look

               up and down Megan Road before entering the fenced backyard. Detective



1
 After the defendants were arrested, police learned that Dilon had signed a lease for the
apartment starting October 23, 2017.
                                                 4
Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 5 of 19



     Ginnetty knew from his training and experience that this behavior was consistent

     with someone looking to see if he was being followed. Id.

 •   In November 2017, Yarmouth Police Detective Lundegren relayed information

     from a third CI, identified as “CS3,” to Detective Ginnetty. According to CS3,

     Dilon recently had started to rent, and had moved into, the basement apartment of

     177 Megan Road and was using it as a stash house. Id. ¶ 6. CS3 reported that

     Dilon entered the apartment through a door in the back of the house. Id. This was

     consistent with Detective Ginnetty’s observation that Dilon entered the fenced

     backyard of the property and then did not emerge for a long period of time.

 •   During the week of November 18, CS1 made a controlled purchase of fentanyl

     from Denzel. The standard Barnstable police procedures for a controlled purchase

     were followed: CS1 made arrangements with Denzel to buy a specific amount of

     fentanyl for a specific price at a specific location in the Town of Barnstable;

     officers searched CS1 and his/her vehicle for drugs, weapons, and cash and found

     none; officers gave CS1 cash in the agreed-upon amount for the purchase; officers

     followed CS1 as he/she drove without interruption to the meet location; Detective

     Ginnetty saw Denzel and Dilon at 177 Megan Road; Ginnetty saw Denzel leave

     177 Megan Road in his Impala, which went directly to the meet location; officers

     saw Denzel meet with CS1 at/in the Impala; CS1 and Denzel parted ways;

     officers followed CS1 as he/she drove without interruption to a prearranged

     location to meet with officers; CS1 gave the officers a baggie containing

     suspected narcotics; CS1 stated that he/she had bought the drugs from Denzel

     with the cash given to CS1 by the officers; officers searched CS1 for drugs,


                                       5
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 6 of 19



               weapons, and money and found none; and officers took custody of the suspected

               drugs, which field-tested positive for the presence of fentanyl. Id. ¶ 7.

           •   Within 72 hours before Detective Ginnetty applied for the search warrant on

               November 28, CS2 made a controlled purchase of fentanyl from Dilon. The same

               procedures described above that were used for the controlled purchase from

               Denzel were again followed here. This time, Detective Foley saw Dilon’s BMW

               leave 177 Megan Road and drive directly to the meet location, where Detective

               Ginnetty recognized the driver of the BMW as Dilon, and saw Dilon meet with

               CS2 before the two parted ways. Id. ¶ 8.

           •   On November 24, a man was shot on Fresh Holes Road in Hyannis; Dilon was

               identified as the shooter; and Denzel was identified as being present at the scene.

               Id. ¶ 13.

           •   A review of Denzel’s criminal record showed 44 adult arraignments, including

               firearms offenses, separate convictions for Possession with Intent to Distribute

               Class A and Class B, and pending charges for Conspiracy to Violate the

               Controlled Substances Act as well as Possession with Intent to Distribute Class B

               – Subsequent Offense. Denzel also had been charged with numerous violent

               crimes. Id. ¶ 9.

           •   A review of Dilon’s criminal record showed 24 adult arraignments, including

               Possession of a Class B Substance as well as convictions for firearms offenses. Id.

               ¶ 10.

       Based on all of the above information stated in Detective Ginnetty’s affidavit, Barnstable

District Court First Assistant Clerk-Magistrate John Costello signed a search warrant on


                                                 6
          Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 7 of 19



November 28 authorizing the search of the basement apartment of 177 Megan Road and the

persons of Denzel and Dilon. Id. at DILON 0011; DN 88-2 at DILON 0102.

        4. The Execution of the Search Warrant

        177 Megan Road is a small ranch house with a driveway on the left. See Exhibit C at 1.

The entrance to the basement apartment is at the rear of the house. See id. at 2. To get to that

entrance, one walks from the driveway through a fenced gate to the backyard and then turns

right. See id. at 3.

        At about 10:53 am on November 29, 2017, Detective Ginnetty saw a Honda Civic

registered to Denzel’s girlfriend, C.W. (MA plate 191RN4), in the parking area of 79 Lewis Bay

Road in Hyannis. DN 88-2 at DILON 0102. Denzel was driving; Dilon was in the front

passenger seat; and a third man, M.M., was in the rear passenger seat. Id.

        At about 11:40 am, the Civic arrived at 177 Megan Road. Denzel was still driving, Dilon

was still in the front passenger seat, and M.M. was still in the back. Id. at DILON 0103. After

Denzel parked the Civic in the driveway, the men walked to the backyard and entered the

basement apartment. Id. Detective Ginnetty was able to see the back of the house via a pole

camera.

        At 2:00 pm, Dilon’s girlfriend, A.S., arrived at 177 Megan Road in Dilon’s BMW. Id.

She parked in the driveway, walked to the backyard, and entered the basement apartment. Id.

        At 2:07 pm, the three men and A.S. walked out of the apartment and came around to the

driveway. As Denzel was entering the driver’s side of the Civic and A.S. was standing next to

the BMW, officers announced themselves. They secured Denzel, Dilon, and A.S., and, after a

brief chase, M.M. Id. at DILON 0103-04.

        After officers Mirandized the brothers, DILON displayed shock that police knew about



                                                 7
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 8 of 19



the apartment, and DENZEL denied living there. Id. at DILON 0104-05.

       Officers forced entry into the basement apartment, which was locked. Id. at USAO 0104.

Inside the small apartment they found a loaded Smith & Wesson .22 caliber revolver and a

Heckler & Koch .9mm semi-automatic pistol with two loaded magazines. Id. at USAO 0105-06.

Officers also found baggies containing suspected fentanyl hidden in the drop ceiling of the

bedroom and in sneakers in the bedroom closet. Officers also found baggies, cutting agent, two

narcotics presses, and a digital scale. Id. They also found mail and other items in Dilon’s name,

and mail in Denzel’s name.

       After searching the apartment, officers searched the Civic. Inside the trunk they found a

backpack containing a grinder with residue, blue gloves, plastic baggies, a 1000-gram bag of

Mannitol (a cutting agent), a substance that tested positive for MDMA (Ecstasy), and an empty

box for one of the narcotic presses found inside the apartment. Id. at DILON 0106. The backpack

also contained mail addressed to Denzel and photos of Denzel’s children. When Detective

Ginnetty later removed the backpack from the evidence locker to take additional photographs, he

found it also contained a digital scale.

       A state police crime lab forensic chemist later determined that 102.09 grams of the

powder seized from the apartment contained an analogue called cyclopropyl fentanyl, and 1.95

grams of the powder contained fentanyl.

       5. The Criminal Charges

       On April 5, 2018, a federal grand jury indicted Dilon and Denzel on one count of being

felons in possession of firearms and ammunition, in violation of 18 U.S.C. § 922(g)(1) and 18

U.S.C. § 2.

       On October 18, 2018, a grand jury returned a superseding indictment charging the



                                                8
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 9 of 19



defendants with the same offense as Count One, plus four additional charges: Possession with

Intent to Distribute 100 Grams or More of a Controlled Substance Analogue, in violation of 21

U.S.C. § 841(a)(1), (b)(1)(A)(vi) and 18 U.S.C. § 2 (Count Two); Possession with Intent to

Distribute Fentanyl, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2 (Count Three); and

two counts of Possessing a Firearm in Furtherance of a Drug Trafficking Crime, in violation of

18 U.S.C. § 924(c)(1)(A) and 18 U.S.C. § 2 (Counts Four and Five).

                                           ARGUMENT

       The Court should deny Dilon’s motion to suppress the evidence seized from the

apartment because the search warrant was supported by probable cause, or, in the alternative,

because the Leon good-faith exception to the exclusionary rule applies.

   1. The Search Warrant Was Supported by Probable Cause

       Dilon bears the burden of proof on his motion to suppress. “Defendant bears the burden

of proof to show that a search performed pursuant to a warrant was unconstitutional.” United

States v. Burdulis, Crim. 10-40003-FDS, 2011 WL 1898941, at *3 (D. Mass. May 19, 2011)

(citing Jarabo v. United States, 158 F.2d 509, 515 n.3 (1st Cir. 1947); United States v.

Rodriguez-Suazo, 346 F.3d 637, 643 (6th Cir. 2003)), aff’d, 753 F.3d 255 (1st Cir. 2014).

       a. The Probable Cause Standard

       The issue for the Court is whether the totality of the circumstances stated in Detective

Ginnetty’s affidavit established probable cause to search the apartment. See United States v.

Tiem Trinh, 665 F.3d 1, 10 (1st Cir. 2011). The Court must “make ‘a practical, common-sense’

determination as to whether, ‘given all the circumstances set forth in the affidavit . . . there [was]

a fair probability that contraband or evidence of a crime [would] be found’” in the apartment. Id.

(quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)). A clerk-magistrate’s determination that



                                                  9
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 10 of 19



information in a search warrant affidavit establishes probable cause receives “considerable

deference,” such that a reviewing court will reverse the determination “only if [there is] no

“substantial basis for concluding that probable cause existed.” United States v. Feliz, 182 F.3d

82, 86 (1st Cir. 1999); United States v. Dixon, 787 F.3d 55, 58-59 (1st Cir. 2015)). In a “doubtful

or marginal case,” a reviewing court must defer to the probable cause determination made by the

judicial officer who signed the warrant. Tiem Trinh, 665 F.3d at 10 (internal quotation marks

omitted).

       b. The Warrant Was Supported by Probable Cause

       “A warrant application must demonstrate probable cause to believe that (1) a crime has

been committed – the ‘commission’ element, and (2) enumerated evidence of the offense will be

found at the place to be searched – the so-called ‘nexus’ element.” United States v. Feliz, 182

F.3d 82, 86 (1st Cir. 1999). A nexus “between enumerated evidence of the crime and the place

can be inferred from the type of crime, the nature of the items sought, the extent of an

opportunity for concealment and normal inferences as to where a criminal would hide evidence

of a crime.” United States v. Flores, 888 F.3d 537, 548 (1st Cir. 2018). Dilon concedes that

Detective Ginnetty’s affidavit satisfies the commission element. See DN 88 at 28 (“the affidavit

does establish that a crime has been committed”). He challenges only the nexus requirement.

       Dilon’s challenge is without merit. Several facts stated in Detective Ginnetty’s affidavit

establish the nexus requirement. First, a CI told police that Dilon recently had started to rent, and

had moved into, the basement apartment of 177 Megan Road and was using it as a stash house.

Second, one day in October 2017, Detective Ginnetty saw Dilon park his BMW in the driveway

of 177 Megan Road, enter the fenced backyard, and not emerge for a long period of time. After

police started monitoring 177 Megan Road, which was not Dilon’s home, they saw him



                                                 10
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 11 of 19



repeatedly enter and exit the fenced backyard of the property. Third, police saw Dilon drive to

various locations from 177 Megan Road, meet individuals for short periods of time, and then

return immediately to 177 Megan Road, which the clerk-magistrate could have inferred to be

behavior consistent with drug-dealing. Fourth, police saw Dilon (a) drive past 177 Megan Road

and then turn around before parking at that address, and (b) look up and down Megan Road

before entering the fenced backyard, which are behaviors consistent with someone looking to see

if he was being followed, which, in turn, is not normal behavior for a non-criminal. Fifth, police

saw Denzel leave 177 Megan Road in his Impala to meet a CI for a controlled purchase of

fentanyl. And sixth, police saw Dilon leave 177 Megan Road in his BMW to meet a CI for a

controlled purchase of fentanyl. These facts were more than sufficient to establish the nexus

requirement. See, e.g., United States v. Barnes, 492 F.3d 33, 37 (1st Cir. 2007) (“This court has

repeatedly found . . . that when a defendant sells drugs outside his home, it is reasonable to

conclude that there is evidence of his drug dealing activity in the home, particularly when the

defendant is observed leaving the home immediately prior to selling drugs.”).

       Dilon argues that probable cause was absent for three reasons. See DN 88 at 10-23. They

will be addressed in turn.

       First, he contends that Detective Ginnetty’s affidavit was not based on firsthand

knowledge, or “direct observation,” that contraband or evidence of a crime would be found at

177 Megan Road. See DN 88 at 10-16. This was not required, however. “The nexus between the

objects to be seized and the premises searched need not, and often will not, rest on direct

observation, but rather can be inferred from the type of crime, the nature of the items sought, the

extent of an opportunity for concealment and normal inferences as to where a criminal would

hide evidence of a crime.” United States v. Feliz, 182 F.3d 82, 88 (1st Cir. 1999) (internal



                                                 11
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 12 of 19



quotation marks omitted). It was reasonable to conclude that Denzel and Dilon stored their drugs

at 177 Megan Road given that they each, on separate occasions, left 177 Megan Road in their

respective vehicles and went directly to a location where they sold drugs to a CI. See Barnes, 492

F.3d at 37. It was also a reasonable conclusion given the statement by CS3 that Dilon recently

had begun renting and was living in the apartment and was using it as a stash house.

       Second, Dilon contends that Detective Ginnetty’s opinions, based on his training and

experience, cannot replace missing facts. DN 88 at 16-20. But Detective Ginnetty’s affidavit was

replete with facts. He stated an opinion based on his training and experience only with regard to

the following matters: (a) that drug dealers usually do not sell drugs out of their homes; (b) that

they often store drugs in a stash house; (c) that they usually sell close to their home or stash

house; (d) that they often change times and locations where they make their sales; and (e) that

certain behaviors are consistent with a person looking to see if he is being followed. See DN 88-

1, ¶¶ 4, 5. The clerk-magistrate did not err in relying on these stated opinions. See, e.g., United

States v. Bain, 874 F.3d 1, 23 (1st Cir. 2017) (“This court has, with a regularity bordering on the

echolalic, endorsed the concept that a law enforcement officer’s training and experience may

yield insights that support a probable cause determination.”) (internal quotation marks omitted),

cert. denied, 138 S. Ct. 1593 (2018). 2

       In his final argument challenging probable cause, Dilon contends that Detective

Ginnetty’s affidavit did not adequately establish the veracity of CS1, CS2, or CS3. The

government disagrees.



2
 Dilon points out that there were several locations other than 177 Megan Road where the
defendants could have been storing their drugs, including their girlfriends’ residences. DN 88 at
19. That is true. Police reasonably obtained search warrants for those locations too, as Dilon
concedes. Id. The fact that officers were thorough does not show that their application for the
177 Megan Road warrant lacked probable cause.
                                                 12
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 13 of 19



       The credibility of CS1’s statement that Denzel was selling large quantities of heroin

and/or fentanyl in the mid-Cape area and was meeting customers at various locations away from

his primary residence was supported by CS1’s assertions that he/she knew Denzel, recently had

bought heroin and/or fentanyl from Denzel, knew what price Denzel charged, and was familiar

with fentanyl because CS1 was a drug user. DN 88, ¶ 2. Those assertions, in turn, were

corroborated when CS1 successfully made a controlled purchase from Denzel. Id. ¶ 7.

       The credibility of CS2’s statement that Dilon was selling large quantities of fentanyl in

the Hyannis area and was meeting customers at various locations away from his primary

residence was supported by CS2’s assertions that he/she knew Dilon, recently had bought

fentanyl from Dilon, knew what price Dilon charged, and was familiar with fentanyl because

CS2 was a drug user. Id. ¶ 3. Those assertions, in turn, were corroborated when CS2 successfully

made a controlled purchase from Dilon. Id. ¶ 8. Moreover, Detective Ginnetty wrote in his

affidavit that CS2 was a reliable informant who recently had assisted Barnstable police by

making controlled purchases of drugs leading to the issuance of a search warrant, which, in turn,

had led to an individual’s arrest and conviction as well as the seizure of drugs and a gun. Id. ¶ 2.

       The credibility of CS3’s statement about Dilon recently moving into 177 Megan Road

and using it as a stash house was corroborated by police surveillance of Dilon repeatedly using

that address (including repeatedly leaving the address and quickly returning to it after meeting

different people at different locations) even though it was neither his nor his girlfriend’s

residence, and by the fact that Dilon went directly from 177 Megan Road to a location where

CS2 made a controlled purchase from him. Moreover, video from the pole camera confirmed

CS3’s statement that the entrance to the basement apartment was located at the back of 177




                                                 13
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 14 of 19



Megan Road, indicating that CS3 was, in fact, familiar with the apartment or at least its

entrance/exit.

       When an affidavit is based wholly or in part on information from an informant, “[t]he

informant’s story and the surrounding facts” must merely “possess[] an internal coherence that

g[ives] weight to the whole.” Massachusetts v. Upton, 466 U.S. 727, 734 (1984). That standard

was more than satisfied here. 3

    2. Dilon Is Not Entitled to a Franks Hearing

       “Affidavits supporting search warrants are presumptively valid.” United States v. Owens,

__ F.3d __, 2019 WL 926160, at *7 (1st Cir. Feb. 26, 2019). “A defendant may rebut this

presumption and challenge the veracity of a warrant affidavit at a pretrial hearing commonly

known as a Franks hearing.” Id. (citing Franks v. Delaware, 438 U.S. 154, 171 (1978)). “To be

entitled to a Franks hearing, however, a defendant must first make two substantial preliminary

showings: (1) that a false statement or omission in the affidavit was made knowingly and

intentionally or with reckless disregard for the truth; and (2) the falsehood or omission was

necessary to the finding of probable cause.” Id. (internal quotation marks omitted). “A

defendant’s failure to make a showing on either of these two elements dooms his challenge.” Id.

(internal quotation marks omitted).

       Dilon first alleges that Ginnetty made false statements or omissions in paragraph 5 of his

affidavit. See DN 88 at 24-25. Paragraph 5 recites the following facts. First, on an unidentified




3
  Dilon argues that even if the affidavit sufficiently established CS1’s and CS2’s reliability with
regard to the fact that Denzel and Dilon were selling fentanyl on the Cape, there was no
information in the affidavit about their knowledge that the brothers were using 177 Megan Road
as a stash house. See DN 88 at 21-22. The affidavit does not state, however, that either CS1 or
CS2 told police that the brothers were using 177 Megan Road. The nexus to 177 Megan Road
was established by other evidence detailed in the affidavit, not by any statements by CS1 or CS2.
                                                14
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 15 of 19



date in October 2017, Detective Ginnetty saw Dilon pull his BMW into the driveway of 177

Megan Road, enter the fenced backyard, and not emerge for a long period of time. Second, at

some unspecified point in time following this incident, 4 detectives began monitoring 177 Megan

Road and saw Dilon entering and exiting the fenced backyard. Third, police followed Dilon to

various locations where he conducted short meetings with people and immediately returned to

177 Megan Road. Fourth, Ginnetty saw Dilon drive by 177 Megan Road and circle back before

parking, and saw him look up and down the street before entering the fenced backyard. DN 88-1,

¶ 5.

       Dilon asserts that the statements in Paragraph 5 must be false because Detective

Ginnetty’s surveillance reports do not mention them. See DN 88 at 24. But that is not entirely

correct. His surveillance reports state that he saw Dilon’s BMW (MA plates 6ZF699) at 177

Megan Road on November 7, 14, 15, and 16. See DN 88-4. It is true that the surveillance reports

omit dates and details stated in paragraph 5 of the affidavit. But the surveillance reports do not

contradict statements in paragraph 5. At most, they show that Ginnetty is not a detailed

recordkeeper. The fact that not all of the statements in paragraph 5 are documented in

surveillance reports does not constitute a substantial preliminary showing of any false statement

or omission in the affidavit. Nor has Dilon made a substantial preliminary showing of

materiality. Even without paragraph 5, probable cause was established by the two controlled

buys and CS3’s report that Dilon was using 177 Megan Road as a stash house.




4
  Dilon alleges that the remaining events described in ¶ 5 must have occurred in October. See DN
88 at 24-25. But Ginnetty’s affidavit does not say that. Indeed, given that Dilon did not sign a
lease until October 23, see supra n.1, it is more likely that the events occurring after the initial
sighting occurred in November.
                                                 15
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 16 of 19



       Dilon also asserts that the statements in paragraph 8 of the affidavit, which describes

CS2’s controlled buy from Dilon, must be false because Ginnetty’s surveillance notes do not

mention that incident. See DN 88 at 25. But that is because Ginnetty documented the event in a

controlled buy report, not a surveillance report. As noted previously, Magistrate Judge Dein

denied the defendants’ motions to compel the government to produce any controlled buy reports.

See supra at 2.

       Next, Dilon attacks the wording in paragraph 7 of Ginnetty’s affidavit, which describes

CS1’s controlled buy from Denzel. See DN 88 at 25-26 & n.10. As Dilon correctly notes, one of

Detective Ginnetty’s surveillance reports documents events immediately preceding that

controlled buy. The surveillance report states that, on November 14, Ginnetty saw Denzel’s

Impala slowly drive by 177 Megan Road. Then he saw Denzel exit from the rear of the house

while on his cell phone. The Impala promptly returned, and Denzel got into the passenger side.

The Impala then headed directly to Sea Meadow Village. See DN 88-4 at DILON 0567. The

controlled buy report (which the government did not produce) states that, when the Impala met

CS1 at Sea Meadow Village, Detective Chevalier saw that Denzel was in the front passenger

seat, and he saw a hand-to-hand transaction between Denzel and CS1. The affidavit does not

mention the second person in the Impala because Detective Ginnetty wanted to provide as little

information as possible that would help someone identify CS1. 5 He made that omission

knowingly and intentionally. No Franks hearing is warranted, however, because disclosure of the

fact that a second person was in the car would not have eliminated probable cause. It is true that




5
 The affidavit states: “Shortly before the scheduled meet, Det Ginnetty observed [Denzel] leave
177 Megan Rd and drive directly to meet with CS1 in the Impala.” DN 88-1 ¶ 7. The use of
“drive” in this sentence is consistent with colloquial use. It is not uncommon to say, e.g., “we
drove to the store,” when in fact only one person was behind the wheel.
                                                16
          Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 17 of 19



the fentanyl purchased by CS1 could have come from the driver instead of from Denzel. But that

was not likely given CS1’s report that Denzel, not some other person, was selling large quantities

of heroin and/or fentanyl in the mid-Cape area, and CS1’s admission that he/she recently had

bought heroin and/or fentanyl from Denzel in the mid-Cape area. See DN 88-1 ¶ 2. In any event,

even excising the entire controlled buy from Denzel (i.e., all of ¶ 7) would not eliminate probable

cause since most of the facts in the affidavit concerned statements about Dilon, observations of

Dilon’s behavior, and the controlled buy from Dilon.

         Finally, Dilon takes issue with a perceived distinction between language in Detective

Ginnetty’s affidavit for the 177 Megan Road warrant, and language in his affidavit for the BMW

GPS tracker warrant, regarding amounts of fentanyl being sold by the brothers. See DN 88 at 26-

27. There is no discrepancy, however, with regard to statements about Denzel’s sales. Only the

177 Megan Road affidavit addresses that: it says that CS1 told Detectives Cunningham and

Chevalier that Denzel was selling “large” quantities of heroin and/or fentanyl combination in the

Mid-Cape area. DN 88-1, ¶ 2. With regard to sales by Dilon, that same affidavit says that CS2

reported Dilon was selling “large” quantities of fentanyl in the Hyannis area, id. ¶ 3, whereas the

tracker affidavit says that CS2 said Dilon was selling “street-level” quantities of blue-colored

fentanyl in the Hyannis area, DN 88-5 ¶ 5. This distinction is too minor to qualify as a

“substantial” showing required for a Franks hearing. Nor is it material to a finding of probable

cause.

   3. The Leon Good-Faith Exception Applies

         If the Court finds that probable cause was absent, it should nevertheless deny Dilon’s

suppression motion in light of the Leon good-faith exception to the exclusionary rule. See United

States v. Leon, 468 U.S. 897, 905 (1984) (modifying the exclusionary rule “so as not to bar the



                                                 17
         Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 18 of 19



admission of evidence seized in reasonable, good-faith reliance on a search warrant that is

subsequently held to be defective”).

        Leon does not apply in four circumstances: (1) if the issuing magistrate “was misled by

information in an affidavit that the affiant knew was false or would have known was false except

for his reckless disregard of the truth”; (2) if the magistrate “wholly abandoned his judicial role”;

(3) if the affidavit was “so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable”; and (4) if the warrant “is so facially deficient – i.e., in failing to

particularize the place to be searched or the things to be seized – that the executing officers

cannot reasonably presume it to be valid.” Leon, 468 U.S. at 923; United States v. Levin, 874

F.3d 316, 322 (1st Cir. 2017); United States v. Woodbury, 511 F.3d 93, 99 (1st Cir. 2007).

        Dilon argues that the third circumstance applies. See DN 88 at 28-29. His position is

without merit. As explained supra, Detective Ginnetty’s affidavit was supported by ample

probable cause.

                                           CONCLUSION

        For the foregoing reasons, the government respectfully requests that the Court deny

Dilon’s motion to suppress.

                                                Respectfully submitted,

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                                           By: /s/ Christine J. Wichers
                                               CHRISTINE J. WICHERS
                                               Assistant U.S. Attorney




                                                  18
        Case 1:18-cr-10087-FDS Document 91 Filed 03/15/19 Page 19 of 19



                                      Certificate of Service

        I certify that, on March 15, 2019, this document filed through the ECF system was sent
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                                              /s/ Christine J. Wichers
                                              Christine J. Wichers




                                                 19
